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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA

                                                       JUDGMENT IN A CIVIL CASE
MAXINE HOPKINSON, et al.,
                                                       for ATTORNEY FEES
                                Plaintiff,
         v.                                            Case Number: 2:19-CV-358 JCM (GWF)
DOMINIC MARROCCO, et al.,


                                 Defendant.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED

that judgment is entered in favor of plaintiffs and against Marrocco. Marrocco shall pay plaintiffs
$13,037.50 in attorney’s fees.




         4/22/20
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s/ A. Reyes
                                                             Deputy Clerk
